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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00864
                                                         Honorable Thomas M. Durkin
Ashik Desai, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 21, 2023:


        MINUTE entry before the Honorable Thomas M. Durkin as to Rishi Shah: By
agreement of the parties, the deadline for Defendant Shah's response to the government's
motion for a preliminary order of forfeiture [465] is extended to 8/28/23 and the deadline
for the government's reply is extended to 9/5/23. Mailed notice (mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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